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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:
                                                                         Case No.: 19-01058
                                                                                   Chapter 7
Christopher Steven King
Melissa Renee King

                     Debtor(s)      /




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 4, 2019, a true and correct copy of Order Approving
Application to Employ/Retain BK Global Services as Real Estate Agent Doc [14] has been
furnished via:

CM/ECF to:

United States Trustee, George C. Young Federal Bldg., 400 W. Washington Street, Suite 1100,
Orlando, FL 32801

US Mail to:

Christopher Steven King, Melissa Renee King, 3072 FOXHILL CIR, APT. 104, APOPKA, FL
32703;

Dean A Reed, Law Office of Dean A Reed PA, Post Office Box 520605, Longwood, FL 32752




                                                  /s/Arvind Mahendru, Trustee
                                                  Arvind Mahendru, Trustee
                                                  5703 Red Bug Lake Road, #284
                                                  Winter Springs, FL 32708
                                                  407-504-2462
